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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

STANDING ROCK SIOUX TRIBE, YANKTON
SIOUX TRIBE; ROBERT FLYING HAWK;
OGLALA SIOUX TRIBE,                Case No. 1:16-cv-1534-JEB
                                   (and Consolidated Case Nos. 16-cv-
             Plaintiffs,           1796 and 17-cv-267)
  and
CHEYENNE RIVER SIOUX TRIBE; SARA
JUMPING EAGLE ET AL.,
               Plaintiff-Intervenors,
          v.
U.S. ARMY CORPS OF ENGINEERS,
               Defendant-Cross Defendant,
  and
DAKOTA ACCESS, LLC,
               Defendant-Intervenor-Cross
               Claimant.



                           ______________________________

    REDACTED BRIEF OF DAKOTA ACCESS, LLC REGARDING REMEDY
                   ______________________________


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                                       INTRODUCTION

       Plaintiffs’ proposed remedy would shut down the safest, most environmentally friendly,

way to move oil from North Dakota to Illinois and points beyond. The Dakota Access Pipeline

(“DAPL”) is now as safe as—indeed, safer than—any other oil pipeline. Period. In nearly three

years of operation it has transported more than half a billion barrels of oil with zero mainline

releases. Extensive government data proves that the chance of a major leak at Lake Oahe—i.e.,

one materially larger than what the Corps has already extensively modeled—is 1 in nearly 200,000

years. That figure does not account for DAPL’s many extra safety features or its location more

than 90 feet below the lakebed. The only spill modeling for this once-in-the-history-of-mankind

event also shows that oil would come nowhere close to a tribal drinking water intake, even if no

response occurred for 10 days. Of course, that response delay could never happen under federal

mandates.

       Plaintiffs will complain still that no existing safety measures or response plans are suffi-

cient, even for the safest oil pipeline currently in service anywhere in the world. Of course the

reality is that no set of safety measures or response plans will ever satisfy them, because they do

not want any oil pipelines operating anywhere. But objective, unbiased analysis shows just how

safe DAPL is, and there is no reason to doubt it will continue to operate safely during remand.

       Balanced against this absence of any benefit to a DAPL shutdown are severe, immediate,

and long-lasting consequences for many parties. It begins with several billion dollars in total an-

nual losses to state, local, and tribal governments dependent on oil and gas tax and royalty revenue

to fund public works; the North Dakota oil and gas industry; the owners of the pipeline and their

partners and affiliates; and numerous downstream customers. The pipeline, with a proven track

record and modern safety features rivaling any other pipeline ever built, also accounts for 4.5% of

all U.S. crude oil production and nearly 40% of crude oil produced in North Dakota, the nation’s


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second largest oil producer. North Dakota, in turn, funds about half of its entire state budget with

tax revenue generated by the oil industry.

       Cutting off the supply line for that volume of such an important commodity would damage

the national economy, several significant national industries, and national security, with severe

ripple effects. Agricultural and other industries, for example, would suffer major disruption from

an effort to replace the pipeline with transport by rail or truck, both of which are unquestionably

more expensive and greater threats to safety and the environment. This Court should preserve the

three-year status quo by remanding without vacatur while the Corps prepares an Environmental

Impact Statement (“EIS”). Each Allied-Signal factor—the seriousness of the deficiencies requir-

ing remand and the disruptive consequences of vacatur—independently favors that result. Allied-

Signal, Inc. v. NRC, 988 F.2d 146, 150-51 (D.C. Cir. 1993).

       None of the grounds for remand that the Court identified in its March 25, 2020 opinion

(“Opinion”) casts serious doubt on the Corps’ decision that the easement was and remains war-

ranted. The linchpin of the Corps’ decision—the minimal risk of a large spill at Lake Oahe—is

not seriously in question, and the Court has already upheld the bulk of the Corps’ environmental

analysis, much of which has not been in dispute for quite some time. That analysis remains highly

relevant to the task of preparing an EIS and, indeed, goes a long way toward fulfilling the EIS

requirements. The Corps, with decades of experience granting easements and permits to oil pipe-

lines, already acknowledged the potentially significant consequences of an extremely unlikely

large spill. Any remaining dispute over details of those consequences is unlikely to alter the Corps’

bottom line: that DAPL—a safe, vital, state-of-the-art pipeline—is extremely unlikely to leak into

Lake Oahe at all, much less with significant effects. These discrete controversies can also be

addressed through additional explanation of known facts and readily available information. Given




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that the Corps has devoted years of attention and more than hundreds of pages of analysis to the

Lake Oahe crossing and easement—more than for many other pipelines it has allowed to cross

jurisdictional waters, despite their having fewer safety features—there is at least a “serious possi-

bility” that the Corps can prepare an EIS that substantiates its decision to grant the easement. Al-

lied-Signal, 988 F.2d at 151.

         As for Allied-Signal’s second prong, the disruptive consequences of shutting down DAPL

after nearly three years of safe operation would be far more severe, and even more certain to occur,

than when the Court last considered the question. For three years now, DAPL has been safely and

efficiently bringing to market almost 40% of North Dakota’s crude oil production—amounting to

4.5% of the nation’s output—every single day. As noted above, shutting it down would have

catastrophic direct and indirect effects, including billions of dollars in unrecoverable losses each

year the pipeline is idle, and thousands of lost jobs. These losses, which extend to states, localities,

tribes, and other third parties, would come as the region and the nation reel from the economic

devastation wrought by the COVID-19 pandemic and fight through a recovery phase. Well clos-

ings by producers and efforts to replace DAPL with rail or truck would also yield a net harm to

the environment, including air pollution and increased risks of oil spills—all of this without the

benefit of any agency oversight. As one expert states, that would be akin to a “major federal action

with no regulatory oversight or environmental agency review and approval.” Ex. A ¶ 37 (Aubele

Dec.).

         By contrast, the Tribes are exceedingly unlikely to suffer any harm if DAPL continues

operating during the remand. DAPL’s safety record during its nearly three years of operation is

as good as, if not better than, any other pipeline in the industry. Even in the highly unlikely event

of a leak—and the even more unlikely remote event one occurs almost 100 feet beneath Lake




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Oahe—Dakota Access has equipment and plans in place to respond to and remediate a spill at

Lake Oahe roughly               larger than the worst-case discharge properly calculated for that

crossing. These extremely remote risks pale in comparison to the certainty of severe economic

and environmental harms that would follow from shutting down DAPL.

       Either Allied-Signal factor—and certainly their combination—renders vacatur unwar-

ranted given the breadth and depth of the record. It is at least “plausible that the [Corps] will be

able to supply the explanations required, and vacatur of the [easement] would be quite disruptive,

as the [Dakota Access] pipeline is currently operational.” City of Oberlin v. FERC, 937 F.3d 599,

611 (D.C. Cir. 2019).

                                        BACKGROUND

       1. For nearly three years, DAPL has safely and efficiently transported crude oil—around

200 million barrels per year—1,172 miles from the Bakken shale region in North Dakota to Patoka,

Illinois. From there, the roughly 800-mile Energy Transfer Crude Oil Pipeline (“ETCOP”) con-

nects DAPL to the Gulf Coast. DAPL brings to market almost 40% of the oil produced in North

Dakota—the nation’s second largest oil-producing state, Ex. G ¶ 4 (Emery Dec.)—and has done

so without a single oil spill on the DAPL mainline and just seven minor incidents within its facil-

ities, Ex. C ¶ 24 (Stamm Dec.). The only one leaving the facility involved less than half a barrel

of “misting” and was promptly remediated. Id. This record places DAPL among the safest U.S.

crude oil pipelines. Id. ¶¶ 4(a), 15.

       By significantly reducing oil producers’ transportation costs, DAPL has spurred a resur-

gence in North Dakota’s economy. Crude-oil production in North Dakota increased 40% between

mid-2017, when DAPL came online, and January 2020. Ex. I ¶ 16 (Makholm Dec.). During that

time, North Dakota oil producers have invested billions of dollars in new infrastructure, created

jobs, and contributed billions in taxes to North Dakota. Id. DAPL alone has generated billions of


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dollars in tax revenue for state, local, and tribal governments, plus substantial royalty payments to

tribes and other property owners. Id. ¶¶ 24, 28-32; Ex. G ¶¶ 21, 28 (Emery Dec.).

       2. Plaintiffs in these consolidated cases—Standing Rock Sioux Tribe (“SRST”), Cheyenne

River Sioux Tribe, Oglala Sioux Tribe, and Yankton Sioux Tribe—filed lawsuits challenging the

July 25, 2016 Environmental Assessment (“EA”) and Mitigated Finding of No Significant Impact

(“FONSI”) that the U.S. Army Corps of Engineers (“Corps”) relied upon to grant an easement

allowing DAPL to cross federally owned lands at Lake Oahe in North Dakota.

       The Lake Oahe crossing stretches 1.73 miles between two valves, each with built-in, state-

of-the-art pressure sensors, part of a system capable of detecting not only a leak down to 0.75% of

flow rate within 45 minutes, but also smaller leaks well before they would cause environmental

harm. Ex. C ¶¶ 6, 9 (Stamm Dec.). As illustrated below, the pipeline was installed deep under the

lakebed using horizontal directional drilling (“HDD”), which “‘virtually eliminate[s] the ability of

a spill to interact with the surface water,’” RAR 13, because that would require oil to rise more

than 90 feet through low-permeability alluvium, glacial deposits, and sediments accumulated at

the bottom of the Lake, when it instead would follow the path of the bore hole to land on either

side of the Lake. See Ex. A ¶ 15 (Aubele Dec.).1 HDD is so safe that from 2010 to 2018, only a

single, 1.7 barrel leak was reported on any crude oil pipeline installed using HDD. RAR 19.




 1
   All administrative record materials cited in the brief are reproduced in the Joint Appendix,
D.E. 209, unless otherwise noted.


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Source: Addressing Misconceptions About the Dakota Access Pipeline, https://daplpipeline-
facts.com/The-Facts.html

       In challenging the easement, the Tribes invoked the National Historic Preservation Act of

1966, the Religious Freedom Restoration Act, the Rivers and Harbors Act, the Clean Water Act,

the Mineral Leasing Act, the Mni Wiconi Act, the National Environmental Policy Act (“NEPA”),

and other laws. This Court has rejected the bulk of these claims; only NEPA is at issue here.

       NEPA requires federal agencies to evaluate the environmental effects of major federal ac-

tions. If an action will “significantly” affect the “quality of the human environment,” the agency

must prepare a detailed EIS. 42 U.S.C. § 4332(2)(C). With respect to the substance of the federal

action, NEPA does not “mandate particular results,” Robertson v. Methow Valley Citizens Council,

490 U.S. 332, 350 (1989); it “imposes only procedural requirements.” Dep’t of Transp. v. Pub.

Citizen, 541 U.S. 752, 756-57 (2004).

       Here, the Corps produced an extensive Environmental Assessment (“EA”) evaluating the

Lake Oahe crossing and a second proposal to cross federal flowage easements roughly 190 miles

northwest, near Lake Sakakawea. USACE_DAPL71227. The EA was 163 pages long, with more

than 1,000 pages of appendices. That length allowed the Corps to address a wide range of potential

environmental impacts. The Tribes have challenged the Corps’ analysis in the EA and FONSI for


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the Lake Oahe crossing.

       3. In June 2017, this Court held that the EA “substantially complied with NEPA in many

areas,” singling out three discrete issues as to the Lake Oahe crossing that the Corps “did not

adequately consider”: (1) the degree to which the project’s effects are likely to be highly contro-

versial; (2) a spill’s consequences on fishing and hunting rights; and (3) the project’s environmen-

tal-justice impacts. Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs, 255 F. Supp. 3d 101,

112 (D.D.C. 2017) (“SRST III” per the Opinion). “Aside from th[ose] discrete issues,” “the Court

conclude[d] that the Corps complied with its statutory responsibilities.” Id. at 160.

       After supplemental briefing, the Court declined to vacate the EA or the Lake Oahe ease-

ment pending remand “[i]n light of the ‘serious possibility’ that the Corps will be able to substan-

tiate its prior conclusions” on remand. Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs,

282 F. Supp. 3d 91, 109 (D.D.C. 2017) (“SRST IV” per the Opinion).

       4. The Corps completed its remand analysis nearly 18 months ago, on August 31, 2018.

It added to its EA a 138-page report focused on the three issues remanded by the Court, see RAR

3-140, plus a further 140-page review and analysis of all “Tribal documents expressing issues of

concern,” RAR 141; see RAR 141-280. On March 25, 2020, after further briefing, the Court held

that the Corps must prepare an EIS because “the pipeline’s ‘effects on the quality of the human

environment are likely to be highly controversial.’”        D.E. 496, at 36 (quoting 40 C.F.R.

§ 1508.27(b)(4)). The Court based this decision on “significant guidance” from National Parks

Conservation Ass’n v. Semonite, 916 F.3d 1075, 1082 (D.C. Cir. 2019), D.E. 496, at 2, a D.C.

Circuit case decided six months after the Corps completed its remand analysis, D.E. 362.

       Without casting doubt on its prior ruling that the Corps had otherwise complied with its

statutory responsibilities through an EA, the Court identified four “non-extensive” areas where the




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Corps had “not ‘succeeded’ in ‘resolving … controversy’” regarding its “‘analytical process and

findings.’” D.E. 496, at 18, 35 (alteration omitted). The areas were: (1) the “efficacy” of “DAPL’s

leak-detection system,” id. at 19-22; (2) the safety record of DAPL’s operator, Sunoco, including

spills on other Sunoco-operated pipelines before Sunoco merged with or sold the pipelines in ques-

tion to Energy Transfer, id. at 22-23; (3) the effect of winter weather on spill-response efforts, id.

at 24-26; and (4) the premises of the EA’s worst-case-discharge (“WCD”) analysis, including the

length of time needed to detect a rupture, id. at 30, and the impact of “human or machine error,”

id. at 32, or adverse weather conditions, id. at 34. The Court concluded that it would remand for

the Corps to complete an EIS, id. at 35, and called for briefing on “whether the easement should

be vacated during the remand,” id. at 42.

                                            ARGUMENT

         Under Allied-Signal, the decision whether to vacate an agency’s order depends on (1) “the

seriousness of the order’s deficiencies (and thus the extent of doubt whether the agency chose

correctly),” and (2) “the disruptive consequences of an interim change that may itself be changed.”

988 F.2d at 150-51. “A strong showing of one factor may obviate the need to find a similar show-

ing of the other.” Am. Bankers Ass’n v. Nat’l Credit Union Admin., 934 F.3d 649, 674 (D.C. Cir.

2019).

         In this case, both prongs of the Allied-Signal analysis weigh heavily against vacatur. First,

there is a strong possibility that the Corps will be able to prepare an EIS that properly substantiates

its decision to grant the easement. Second, halting operation of the pipeline would impose severe

hardship on private and public stakeholders alike. Either is reason enough to reject vacatur.

I.       There Is More Than A “Serious Possibility” That The Corps Can Substantiate Its
         Decision To Grant The Easement

         “When an agency may be able readily to cure a defect in its explanation of a decision, the



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first factor in Allied-Signal counsels remand without vacatur.” Heartland Reg’l Med. Ctr. v. Sebe-

lius, 566 F.3d 193, 198 (D.C. Cir. 2009) (“Heartland II”). The question is whether the decision is

“‘so crippled as to be unlawful,’” or instead “‘potentially lawful but insufficiently or inappropri-

ately explained.’” SRST IV, 282 F. Supp. 3d at 103. If there is a “serious possibility” that the

agency can “substantiate” its original decision, Allied-Signal, 988 F.2d at 151, reviewing courts

“generally limit themselves to remanding for further consideration” without vacatur, Fox Televi-

sion Stations, Inc. v. FCC, 280 F.3d 1027, 1047 (D.C. Cir. 2002). Actions that are “potentially

lawful but insufficiently or inappropriately explained” are “frequently remand[ed]” without vaca-

tur. Radio-Television News Dirs. Ass’n v. FCC, 184 F.3d 872, 888 (D.C. Cir. 1999).

       Remand without vacatur is appropriate because the Corps is fully capable of substantiating

its decision to grant the easement. Allied-Signal, 988 F.2d at 151.2 NEPA is a procedural statute;

it does not mandate particular results. Robertson, 490 U.S. at 350; Dep’t of Transp. v. Public

Citizen, 541 U.S. 752, 756-57 (2004). The import of this Court’s Opinion is to require one proce-

dural path (an EIS) over another (an EA). The Corps therefore must prepare an EIS that “‘ade-

quately consider[s] and disclose[s] the environmental impact of’” the easement. WildEarth Guard-

ians v. Jewell, 738 F.3d 298, 308 (D.C. Cir. 2013). But the agency has already done much of that

work in the hundreds of pages of EA and remand analysis it prepared, which track the substantive


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    In Nat’l Parks Conservation Ass’n v. Semonite, 422 F. Supp. 3d 92, 99 (D.D.C. 2019), the
district court addressed the Corps’ ability to substantiate either of two decisions: the “initial pro-
cedural decision to forgo an EIS,” and the “original substantive decision to issue … the permit.”
Id. The Corps will not be trying to substantiate its decision to forgo an EIS for the Lake Oahe
crossing; the Court has foreclosed that option. Instead, the decision to be substantiated here is the
substantive decision whether to issue an easement. This is the decision the Court is deciding
“whether to vacate.” Heartland II, 566 F.3d at 197; see D.E. 496, at 42 (ordering briefing on this
question). Although the court declined to vacate the permit in Semonite, it sided with the plaintiffs
on the first Allied-Signal factor, because “the EIS will be far more extensive than the EA.” 422 F.
Supp. 3d at 99. As explained below, the first Allied-Signal factor favors remand without vacatur
given, among other reasons, the extent to which the EA in this case already properly addresses
many of the issues required of an EIS.


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requirements for both an EA and an EIS, and exhaustively address the Tribes’ comments.

        Much of that work remains valid, including the Corps’ key premise that a large spill is so

unlikely that the risk does not foreclose an easement, even if such a spill could have significant

consequences. Outside the specific issues raised by this Court, the Corps can continue to rely

largely, if not exclusively, on its prior analysis. And in revisiting the topics identified by the Court,

the Corps need not show that they are uncontroversial, only that its resolutions are reasonable.

WildEarth Guardians, 738 F.3d at 308. Given the extensive body of undisputed environmental

analysis supporting the easement; the extremely low likelihood of a spill; the sterling safety record

of this important, state-of-the-art pipeline; the discreteness of the identified deficiencies; and the

ability to resolve those deficiencies, the Corps is highly likely to substantiate its decision to issue

the easement. Prong one of Allied-Signal accordingly favors remand without vacatur.

        A.      The Corps Has Already Largely Completed The Work Required For An EIS

        The Corps’ task on remand will be to prepare an EIS. This document provides a “full and

fair discussion of significant environmental impacts” associated with a proposed action and eval-

uates “reasonable alternatives” to the action. 40 C.F.R. § 1502.1. NEPA regulations establish a

“standard format” comprising eleven different components analyzing, for example, the alternatives

considered, the affected environment, and the environmental consequences of the action. See id.

§§ 1502.10(a)-(k), 1502.11-.18. An EIS is “normally … less than 150 pages,” or “less than 300

pages” for “proposals of unusual scope or complexity.” Id. § 1502.7.

        The Corps has already produced a document addressing these components, and more. Un-

like a typical EA—which is “concise,” 40 C.F.R. § 1508.9(a)(1), and together with a FONSI “nor-

mally should not exceed 15 pages,” 33 C.F.R. pt. 325, App. B(7) (Corps regulations); id.

§ 230.10(c)—the EA here is 163 pages, not including appendices. It includes each and every com-

ponent required of an EIS except perhaps an index, which can easily be compiled.                     See


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USACE_DAPL 71221-24 (table of contents). And it meets the procedural requirement that an

EIS be published in a “two stag[e]” process, 40 C.F.R. § 1502.9, with the draft EA published in

December 2015 and the final EA issued after a comment process in July 2016, see USACE_DAPL

71220, 71225.

       The EA’s main environmental analysis is extensive, USACE_DAPL 71229-332, and com-

mensurate with the requirements for an EIS. It discusses “Impacts and Mitigation” on 25 distinct

aspects of the environment—ranging from water resources to wildlife to noxious weeds—and on

each topic, it “succinctly describe[s] the environment,” 40 C.F.R. § 1502.15; explains the direct

and indirect “environmental impacts” of the project, id. § 1502.16; and identifies “appropriate mit-

igation measures,” id. § 1502.14(f). See also USACE_DAPL 71333, 71341-49 (consolidated sum-

mary of mitigation measures). The EA separately discusses the “cumulative” effects of these en-

vironmental impacts, compare 40 C.F.R. §§ 1502.16(a)-(b), 1508.7-.8, with USACE_DAPL

71322-31; SRST III, 255 F. Supp. 3d at 129-30 (upholding this analysis), and evaluates the relevant

“cost considerations,” compare 40 C.F.R. §§ 1502.23; 33 C.F.R. pt. 325, App. B(9)(5)(d), with

USACE_DAPL 71235. It also presents “in comparative form” the environmental impacts of the

proposal and six categories of alternatives—including a “no action” alternative and alternative

routes—and rigorously evaluates them.            Compare 40 C.F.R. § 1502.14(a)-(d), with

USACE_DAPL 71229-46; see also SRST III, 255 F. Supp. 3d at 134-35 (affirming alternatives

analysis). The EA takes an “interdisciplinary approach,” 40 C.F.R. § 1502.6, evaluating environ-

mental, economic, social, cultural, and environmental-justice considerations, see USACE_DAPL

71248, 71299-311, 71329. And it backs this analysis with a list of scientific references, compare

40 C.F.R. § 1502.24, with USACE_DAPL 71355-62; graphics, compare 40 C.F.R. § 1502.8, with

USACE_DAPL 71364-82; and more than 1,000 pages of supporting appendices, USACE_DAPL




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71220-990; 74227-581; 74980-75099.

       There is more. In October 2016 the Corps prepared a 36-page memorandum focusing on

six issues that the Department of the Army had identified for further review. USACE_ESMT 231;

see USACE_ESMT 241. In February 2017, after the Corps received initial comments in response

to a notice of intent to prepare an EIS, see 82 Fed. Reg. 5543 (Jan. 18, 2017), the Corps again

“review[ed] the record in its entirety and g[ave] further consideration to the input received” by the

Corps since the October 2016 memorandum, “including additional review and analyses of the

subjects identified by the [Assistant Secretary of the Army (Civil Works)], other federal executive

offices,” and a “series of letters” from SRST. USACE_ESMT 235. Then, following this Court’s

remand, the Corps added a 138-page report addressing the three remand topics—highly controver-

sial effects, hunting and fishing, and environmental justice, RAR 3-140—plus an additional 140

pages responding at length to the Tribes’ criticisms of the EA, RAR 141-280. The analysis drew

on extensive additional modeling tracking the flow of a 12,517-barrel discharge at Lake Oahe over

a 10-day period, RAR 8065-8402, and modeling its impact on drinking water intake and wildlife,

RAR 2739-2867, in reports totaling 467 pages.

       All told, the Corps’ 441 pages of EA and remand analysis, backed by comprehensive re-

ports, memoranda, and appendices, already dwarf the extent of analysis required when preparing

an EIS. While the Corps must still address any substantive deficiencies found by the Court and

otherwise prepare a complete EIS, it already has significantly addressed each topic, both in con-

sidering those issues and explaining their role in the decision to issue an easement.

       B.      The Bulk Of The Corps’ Prior Analysis Remains Valid And Relevant

       The Corps, without prejudging the outcome of the EIS process, can nonetheless continue

to draw on the extensive analysis it has already performed. An agency ordinarily does not need to

“‘start from scratch’” and “reconsider everything” on remand. Oceana, Inc. v. Ross, 275 F. Supp.


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3d 270, 288 (D.D.C. 2017) (alteration omitted), aff’d, 920 F.3d 855 (D.C. Cir. 2019). To comply

with a remand, the agency need only “fil[l] the analytical gap identified [by the court].” Heartland

Reg’l Med. Ctr. v. Leavitt, 415 F.3d 24, 29 (D.C. Cir. 2005) (calling it the “only obligation”)

(“Heartland I”).

       That rule does not change here, where the Corps will perform a similar analysis in prepar-

ing an EIS rather than an EA. To the contrary, NEPA regulations make clear that an EA may be

used to “[f]acilitate preparation of [an EIS] when one is necessary.” 40 C.F.R. § 1508.9(a)(1), (3).

Under NEPA regulations, an EIS need not involve an in-depth review of every potential issue

implicated by a federal action. Id. § 1502.2(a)-(c). It must instead focus its detailed analysis on

“significant” issues and—as in a FONSI—include “only enough discussion to show why more

study is not warranted” for insignificant issues. Id. § 1502.2(b) (emphasis added). There is ac-

cordingly no need for the Corps to redo its work on issues that it has already covered and that have

not been found to be deficient or highly controversial. Id. §§ 1501.1(d), 1501.7(a)(2)-(3). Indeed,

to the extent the Court has not found fault in portions of the Corps’ EA and related documents,

NEPA regulations allow—in fact, require—the Corps to incorporate this material by reference to

“cut down on bulk.” Id. § 1502.21 (stating agencies “shall” do so where appropriate).

       Importantly, the Court has already upheld much of the Corps’ analysis with respect to the

Lake Oahe easement.3 SRST III significantly narrowed the issues requiring further analysis by

limiting the remand to three “discrete issues” and concluding that the Corps had otherwise “com-

plied with its statutory responsibilities” when it prepared the EA and FONSI. SRST III, 255 F.


 3
    The Tribes have not challenged the Corps’ analysis or permitting of the Lake Sakakawea cross-
ing, see USACE_ESMT 1523 (authorization) (D.E. 66-3, at 138-41); USACE_DAPL 71174
(FONSI), 71220 (EA), and any decision related to that crossing is plainly severable from the
Corps’ decisions about Lake Oahe, see Davis Cty. Solid Waste Mgmt. v. EPA, 108 F.3d 1454, 1459
(D.C. Cir. 1997) (severability depends on agency’s intent); USACE_DAPL 71239 (finding that
“[t]he two federal permissions are not connected actions”).

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Supp. 3d at 160; see also SRST IV, 282 F. Supp. 3d at 94 (same). The Opinion narrows the issues

further. It identifies four areas of criticism pertaining to one remand topic. An agency’s task on

remand is to fill “the analytical gap identified [by the court].” Heartland I, 415 F.3d at 29.

       The Corps’ key premises for granting the easement therefore remain intact, and they

strongly suggest that the Corps will be able to reach the same top-line conclusion on remand.

       First, it remains the case that DAPL is a pipeline of national importance. See infra, at

31-43. The Corps knows that no other existing interstate pipelines or alternative method of trans-

portation can replace it, USACE_DAPL 71229, because alternative methods do “not address …

existing demand,” USACE_DAPL 71237, and pipelines are “more reliable, safer, and more eco-

nomical” than rail for “large volumes,” USACE_DAPL 71231. The Corps has also recognized

DAPL’s environmental benefits compared to the alternatives—including decreased spill risks

compared to trucks and rail and reduced “exhaust” from locomotive combustion and “air pollu-

tion” from potential releases during filling operations. USACE_DAPL 71229-31.

       These benefits continue to favor an easement. The Corps’ task is no longer to substantiate

a finding of no significant impact, but to weigh any impact against competing concerns. Whatever

impact the Corps ultimately finds after its further review on a subset of topics, NEPA does “not

require [it] to elevate environmental concerns over other appropriate considerations,” Balt. Gas &

Elec. Co. v. NRDC, 462 U.S. 87, 97 (1983).

       Second, there is no viable alternative route. The Court has already upheld the Corps’ find-

ing that routes like that to the north of Bismarck would have additional environmental conse-

quences and pose other significant risks. See SRST IV, 282 F. Supp. 3d at 102; SRST III, 255 F.

Supp. 3d at 134-36; USACE_DAPL 71231-35. In particular, the North Bismarck route would




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entail “greater risk” to “water intakes” and “minority and low-income populations” than the exist-

ing route, which also takes greater advantage of the ability to reduce environmental impacts by co-

locating along existing rights-of-way. RAR 100. And because the pipeline is already built, the

Corps would further need to account for added costs and disruptions from restarting construction

and rerouting a pipeline already in operation. The only logical choice short of permanently shut-

tering the pipeline and losing its benefits is to stand by the decision to grant an easement.

       Third, no matter what becomes of the criticisms featured in the Court’s Opinion, none of

them alters the Corps’ conclusion the risk of a large spill near Lake Oahe is exceedingly small.

The Corps has determined it to be not only “low,” but “extremely low.” USACE_DAPL 71272,

71316, 71311; see also, e.g., RAR 1, 19, 119. And the Court has upheld this “top-line conclusion”

as reasonable. SRST III, 255 F. Supp. 3d at 127; see SRST IV, 282 F. Supp. 3d at 96; id. at 101

(describing spill risk as “minimal”). The chances of oil actually “reaching Lake Oahe itself” are

“even lower,” RAR 58, because “[i]nstallation of the pipeline at a depth of 92 feet below the bot-

tom of Lake Oahe ‘virtually eliminat[es] the ability of a spill to interact with the surface water.’”

RAR 13; see also RAR 14-19.

       The Corps already has bolstered this conclusion with extensive historical data that the

Tribes cannot refute. Examining PHMSA data, the Corps determined on remand that since 2010,

there had been 156 reported hazardous-liquid accidents involving a pipeline with a diameter of 16

inches or more. RAR 18. The majority of these spills (53%) involved “relatively small” spill

amounts (less than 4 barrels). RAR.18. Larger spills are even more rare: 75% were below 105

barrels; 90% were below 3,000 barrels; and 95% were below 7,600 barrels. RAR 18. The Corps

thus found that “most pipeline spills are small,” and that releases of 10,000 barrels or more are

“extremely uncommon.” RAR 18-19. A spill materially greater than the WCD that the Corps has




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already analyzed would be rarer still. Between 2010 and 2020, there were only two such high-

volume crude-oil spills, amounting to 0.2 per year. See Ex. B ¶ 21 (Godfrey Dec.).4 Based on an

annual average during that period of approximately 67,216 miles of pipeline in the United States,

the number of such high-volume spills per mile of pipeline per year is less than 0.000003. Id. For

a pipeline segment measuring 1.73 miles, such as that between valves at the Lake Oahe crossing,

see Ex. C ¶ 6 (Stamm Dec.), a leak materially exceeding the Corps’ WCD is a once in 193,972-

year event, Ex. B ¶ 21 (Godfrey Dec.)—about the amount of time since the dawn of humanity.

       Fourth, this same probability analysis means the Corps can support an easement again,

even if a hypothetical spill entails potentially significant consequences or the effects remain highly

controversial for the reasons the Opinion identified. In fact, the Corps already concluded that,

despite its recognition of such possible significant consequences, the “low risk/high consequence”

combination favored an easement. USACE_DAPL 71316; see also USACE_DAPL 71312-18.

There is good reason to think the Corps would be able to retain its top-line conclusion even if a

still-low-likelihood WCD (or other spill estimate) turns out to be larger than originally calculated.

That is especially true for impacts from even lower probability perfect-storm events, like a valve

failure during a guillotine rupture. D.E. 496, at 33. The fact that the Tribes’ “experts” can posit

ever-more-improbable worst-case scenarios is unlikely to influence the Corps’ top-line conclusion,

even if NEPA required the Corps to do that additional math. Put another way, the Corps can

properly conclude, based on years of real-world pipeline operating data and experience, that the

probability of a large spill is low enough to render each purported topic of high controversy im-

material to the easement decision.




 4
    A third involved a volume comparable to the WCD already analyzed by the Corps. See Ex. B
¶ 21 n.10 (Godfrey Dec.) (12,615-barrel spill).


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       Fifth, the effects of a 12,517-barrel spill for which 10 days pass with no response are al-

ready known, and the Opinion does not call them into question. See RAR 8065-8402 (Spill

Model); RAR 2739-2867 (Downstream Receptor Report). The points the Opinion discusses bear

on the main input into this model (the volume of oil spilled), and if the Corps reaffirms on remand

that 12,517 barrels is the WCD and that DAPL can mitigate such a spill within 10 days—despite,

for example, leak-detection issues and winter conditions, D.E. 496, at 24-26—the Corps will have

little difficulty reaching the same finding about the potential spill impact and thus the same deci-

sion to grant an easement.

       Taken together, and notwithstanding the points the Opinion raises, these considerations

provide a strong foundation for the Corps to adhere to its decision to grant the Lake Oahe easement.

The Corps has already stated that “[w]hile there may be other methods for predicting oil spill

effects, it is not likely that employing further methods will result in substantively different views

or information that is more comprehensive than what the Corps has considered.” RAR 139-40.

       C.      The Corps Will Also Be Able To Resolve The Controversies This Court
               Identified

       Given the substantial progress that the Corps has already made towards the preparation of

an EIS, and with many of its key premises still intact, there is a “serious possibility” that the Corps

can substantiate its decision after addressing the items this Court identified on the topic of highly

controversial effects. Allied-Signal, 988 F.2d at 151. The question at the EIS stage is no longer

whether the Corps’ methods and factual premises are disputed or even whether such disputed ef-

fects negate a finding of no significant impact. The question instead is whether such disputes

require the different substantive outcome of not issuing an easement. The Corps will face that

question armed with three years of operating data showing DAPL’s exemplary safety record.

Drawing on that evidence and additional input on the very topics the Opinion raises, the Corps can



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easily reach the same decision by resolving this Court’s concerns.

                1.      The Corps Has Broad Discretion At The EIS Stage To Choose
                        Between Competing Methods, However Controversial

        The Court based its remand on the conclusion that the effects of a spill at Lake Oahe are

“‘highly controversial’” under Semonite, which alone requires an EIS. D.E. 496, at 35-36. The

question the Court posed was whether a “substantial dispute exists as to the size, nature, or effect

of the major federal action rather than to the existence of opposition to a use.” Id. at 13 (quoting

Town of Cave Creek v. FAA, 325 F.3d 320, 331 (D.C. Cir. 2003)). The Court ruled that the agency

needed to show it succeeded in resolving controversy resulting from Plaintiffs’ “‘consistent and

strenuous opposition’” to the project. Id. at 14-15.

        The task for this topic on remand is simpler. Rather than “do away with [any] controversy”

to the Tribes’ satisfaction, D.E. 496, at 34, or disprove that a “‘dispute exists,’” id. at 13, the Corps

need only decide any remaining disputes. In doing so, the “choice of … methodology”—even if

controversial—will be left to the Corps’ “wisdom and experience,” Citizens Against Burlington,

Inc. v. Busey, 938 F.2d 190, 200-01 (D.C. Cir. 1991), and “dispute[s] … of fact” left to its “‘in-

formed discretion,’” Marsh v. Or. Nat. Res. Council, 490 U.S. 360, 377 (1989). So long as the

Corps “‘adequately consider[s] and disclose[s] the environmental impact’” of an easement and that

“‘decision is not arbitrary or capricious,’” the decision will be sustained. WildEarth Guardians,

738 F.3d at 308. The Corps thus faces a lower burden in “substantiat[ing] its decision” at the EIS

stage, Allied-Signal, 988 F.2d at 151, than the one this Court articulated for defending the decision

to forego an EIS.

                2.      The Corps Can Draw On DAPL’s Strong Safety Record Over Three
                        Years Of Operation

        The Corps will also benefit on remand from a more robust record supported by real-world

experience. DAPL is nearing the end of three years in operation. It has been as safe as (if not


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safer than) any other pipeline, with no spills on the mainline (including the Lake Oahe crossing)

and only seven small incidents at company facilities. Ex. B ¶ 16 (Godfrey Dec.); Ex. C ¶ 24

(Stamm Dec.). Moreover, only one facility discharge involved any product leaving the facility—

less than half a barrel of misting that was quickly remediated. Ex. C ¶ 24 (Stamm Dec.). Notably,

all but one event occurred within the first 12 months of operations and related primarily to com-

missioning issues that have since been fixed. Id. Indeed, despite safety-related arguments like

those Plaintiffs raise, state agencies in each of the four States that DAPL traverses have given their

approvals.5

       Numerous other indicators further confirm that DAPL is one of the safest pipelines in op-

eration. Ex. B ¶¶ 17-20 (Godfrey Dec.); Ex. C ¶¶ 15-28 (Stamm Dec.). These facts bear out the

care with which Dakota Access has approached its responsibilities in operating the pipeline and

the effectiveness of the DAPL’s state-of-the-art safety systems. This track record can give the

Corps comfort on remand that the pipeline will operate safely at Lake Oahe.

               3.      Each Purported Deficiency Is Easily Redressable

       Armed with DAPL’s safety record, the Corps can easily address the four discrete issues

that this Court found “highly controversial”—leak-detection systems, operator safety records, ad-

verse conditions, and worst-case-discharge predictions. Even if “‘insufficiently or inappropriately

explained,’” the Corps’ reasoning on these issues is not “‘so crippled as to be unlawful,’” SRST

IV, 282 F. Supp. 3d at 103, and it is highly likely—and certainly “plausible”—that the Corps can

“supply the explanations required,” City of Oberlin, 937 F.3d at 611.


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   Final Decision and Order, In re Dakota Access, LLC, No. HLP-2014-0001 (Iowa Utils. Bd.
Mar. 10, 2016); Findings of Fact, Conclusions of Law and Order, Dakota Access, LLC, Dakota
Access Pipeline Project, Siting Application, No. PU-14-842 (N.D. Pub. Serv. Comm’n Jan. 20,
2016); Order, In re Dakota Access, LLC, No. 14-0754 (Ill. Commerce Comm’n Dec. 16, 2015);
Final Decision and Order, In the Matter of Application of Dakota Access, LLC, No. HP 14-002
(S.D. Pub. Utils. Comm’n Dec. 14, 2015).

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       i. Leak-Detection Systems: DAPL’s state-of-the-art computational pipeline monitoring

(“CPM”) system ensures that the Corps can easily address the Court’s concerns about leak detec-

tion on remand. DAPL’s CPM system receives information from the pipeline’s supervisory con-

trol and data acquisition (“SCADA”) system every 6 seconds, which polls extensive data about

the pipeline. Ex. C ¶ 7 (Stamm Dec.). Each DAPL valve monitors pressure, and each pump station

monitors flow rate, pressure, and temperature, among other variables. USACE_DAPL

71266; see Ex. C ¶ 6 (Stamm Dec.). DAPL has more valves per mile than the vast majority of

other pipelines, making it capable of collecting more leak-detection data than “just about any other

pipeline in the world.” Ex. C ¶ 6 (Stamm Dec.). This includes pressure-monitoring mainline

valves close to each side (within about half a mile) of Lake Oahe—one near milepost 166, and one

near milepost 168—a fact that the Corps already “did in fact take … into consideration.” D.E.

496, at 22; see RAR 156, 173; USACE_DAPL 71366; see also Ex. C ¶ 6 (Stamm Dec.). In the

highly unlikely event of a rupture underneath Lake Oahe, pressure waves would travel at the speed

of sound through the pipeline and be detected within seconds, allowing operators to quickly close

the valves and prevent oil from draining downhill into the rupture. RAR 156, 173.

       DAPL’s advanced leak-detection system is highly capable of detecting small leaks. Ex. C

¶¶ 5-13 (Stamm Dec.). The CPM system’s vendor has provided updated data showing that, for

the segment of the pipeline including the Lake Oahe crossing, the system will detect a 0.75% leak

or smaller within 45 minutes. Id. ¶ 9. And DAPL’s leak-detection technology is likely even more

sensitive than that. Id. For example, it detected a flow imbalance of just 4.7 barrels in less than

two minutes when product was removed from the pipeline and used to fill a “scraper trap” device

during routine maintenance. Id. DAPL also has only one origin point and one delivery point,

making it easier to detect a pressure loss, flow rate change, or volume loss, and thus to detect a




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leak’s presence—even a pinhole leak of less than 1% of the pipeline’s flow rate—than would be

the case for complex systems with multiple injection or delivery facilities. Ex. B ¶ 10 (Godfrey

Dec.). In short, DAPL’s leak-detection system is among the best available, and the Corps will

have ample “reassurance” on remand, D.E. 496, at 21, that it would detect even a slow leak long

before it approached the Corps’ 12,517-barrel WCD scenario, Ex. C ¶ 9 (Stamm Dec.).

       It is more than likely that the Corps can reaffirm on remand that DAPL’s state-of-the-art

systems will detect a leak well before it can exceed the 12,517-barrel WCD already analyzed by

the Corps. As explained supra at 15-16, pipeline leaks are rare, and high-volume leaks are even

rarer. Undetected high-volume leaks on state-of-the-art pipelines are virtually unheard of. Since

2010, there has never been an undetected spill exceeding 5,000 barrels on a section of pipeline

manufactured after 1968 that had a CPM system. Indeed, since 2010 there have been only ten

spills of 5,000 barrels or more throughout the industry on any section of any pipeline or at any

valve site. Only six spills of those involved a pipeline with a functional CPM system and, in all

but one, CPM or SCADA detected the leak or triggered an alarm. Ex. B ¶¶ 13-14 (Godfrey Dec.)

(noting that the exception, 7,538 barrels, occurred on a 42-year-old pipeline). The 8,600-barrel

leak that the Court referenced, D.E. 496, at 21—which occurred on a Texas pipeline before it came

under Energy Transfer’s control—was one of the four incidents in which, unlike DAPL, no func-

tional CPM system was in place. Ex. B ¶ 15 (Godfrey Dec.). Even so, this leak was detected by

Sunoco’s SCADA system. Id.; Ex. C ¶ 13 (Stamm Dec.). It took so long to isolate that leak (13

days) only because the pipeline lacked capabilities that are installed on DAPL. Ex. C ¶ 13 (Stamm

Dec.). The Tribes have not identified a single leak even close to 12,517 barrels that went unde-

tected by a leak-detection system remotely comparable to DAPL’s state-of-the-art of system. The

chance that the first such spill ever would happen on a pipeline as safe as DAPL, let alone at Lake




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Oahe, is infinitesimal.

       Far from showing that such state-of-the-art leak-detection systems regularly fail, D.E. 496,

at 19-20, the Tribes’ data merely reveals that pipeline operators have multiple ways to identify

leaks. The Tribes rely here on a 2012 Pipeline and Hazardous Materials Safety Administration

(“PHMSA”) study summarizing operators’ reports about how leaks were detected. It states that in

20% of leaks on pipelines with functioning CPM systems—a method used by DAPL, Ex. C ¶ 7

(Stamm Dec.)—operators reported CPM as the method of detection. PHMSA, Leak Detection

Study, at 2-11 (2012), https://bit.ly/2VoDtAY (“PHMSA Study”). Others were detected by either

other systems, such as SCADA, which DAPL also uses, Ex. C ¶ 7 (Stamm Dec.), control room

and local operating personnel, or different means. PHMSA Study, at 2-10 to 2-11. The study does

not conclude that CPM has “an 80% failure rate,” D.E. 496, at 20, just that operators reported other

means (including other detection systems) that detected some leaks earlier. This is consistent with

CPM’s ability to detect a 0.75% leak within 45 minutes, Ex. C ¶ 9 (Stamm Dec.), with other meth-

ods detecting slow leaks sooner.6

       In any event, the study was not limited to state-of-the-art pipelines and most of the spills it

considered were far smaller than the Corps’ WCD. The smallest release volume not detected by

CPM was 0.42 gallons and the median was 1,004 gallons (approximately 24 barrels). PHMSA

Study, at 3-30, 3-43. Nondetection of a half-milk-jug spill of crude is not a “failure.” Accordingly,

the Corps will be able to conclude that the PHMSA study does not undermine its decision to grant

the easement.

       ii. Operator Safety Record: Information about Sunoco’s safety record, while that company


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     The study further acknowledges that the operator reports on which the Tribes rely for their
criticism were not verified and could be “incorrect,” “flawed,” or “incomplete.” PHMSA Study,
at 2-6, 3-17. The authors thus expressly declined to offer any “conclusions or recommendations,”
id. at 3-17, or “probabilistic analysis,” id. at 2-6.


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was under different management and on pipelines lacking DAPL’s safety features, is also unlikely

to lead the Corps to a different outcome on remand. The Corps need not change its decision based

on the safety record—just “justif[y] [the] decision to not incorporate [it] into [the EA],” D.E. 496,

at 23—and the information merits little weight.

       The data the Tribes cited to challenge Sunoco’s record does not differentiate based on pipe-

line safety features or risks, and it covers events before Energy Transfer assumed common control

over operations for relevant assets. Ex. C ¶ 25 (Stamm Dec.). Under Energy Transfer, Sunoco

has transformed its safety culture. Id. ¶ 26. It voluntarily adopted the same safety-management

standard (API 1173) the Tribes prefer, D.E. 433-2, at 31, and the number of incidents on its pipe-

lines decreased by approximately 50% from 2017 to 2019, Ex. C ¶ 27 (Stamm. Dec.). DAPL’s

own sterling record over its three years of operation, see supra, at 4, is the more relevant data point.

       Even were Sunoco’s record relevant, the rate of incidents on its pipelines in 2019 was in

line with the industry average. Ex. C ¶ 27 (Stamm. Dec.). And its largest spill—which also oc-

curred before Energy Transfer assumed control over it, id. ¶ 13—was still far less than the WCD

used by the Corps. See D.E. 496, at 21. Sunoco’s record therefore is unlikely to alter the Corps’

predictions about “risk or magnitude of a spill” on DAPL. Id. at 22.

       iii. Winter Conditions: The concern that winter conditions may impact spill recovery can

also be addressed satisfactorily on remand. Energy Transfer has already provided the Corps with

extensive modeling of the unmitigated movement of a 12,517-barrel WCD spill over a 10-day

simulation period in a wide range of weather conditions, including winter. RAR 8070. The Corps

can validate use of the modeling if a response to a spill is possible within 10 days year-round.7

 7
    The Corps thus could adhere to its decision on remand without substantiating Energy Trans-
fer’s conclusion that for purposes of “‘cleanup of a spill,’ … difficult winter conditions will be
counterbalanced by the slower movement of the oil beneath the ice,” RAR 151. See D.E. 496, at
26 (raising issue as a concern). But that conclusion also can be substantiated. The spill report


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That way, the net impact of a WCD spill would be no worse than what the Corps already found

acceptable, and the Corps will have no reason to withdraw the easement.

       Separately, while the Court has called for further analysis of Dakota Access’s response

time in winter, it did not find incorrect or even doubtful the Corps’ bottom line—that Dakota Ac-

cess can respond safely and rapidly even in winter. It therefore remains “plausible” that the Corps

can “supply the explanations required,” City of Oberlin, 937 F.3d at 611, and substantiate the de-

cision to issue the easement.

       None of the cold-weather criticisms in the Earthfax Report come close to questioning the

ability to respond within 10 days. In fact, they are mostly unsubstantiated generalizations based

solely on the author’s anecdotal “experience.” RAR 1248; see id. (speculating whether response

times would be affected by workers “bundling” up, taking “breaks,” and moving more slowly to

avoid “slip-trip-fall risk”). None would be expected to materially increase response times, partic-

ularly where Dakota Access’s response planning contemplates that additional workers and re-

sources will be assigned to spill-recovery efforts during adverse weather conditions, and many

recovery operations will take place on vehicles or vessels that do not present a significant risk of

slipping, tripping, or falling. Ex. B ¶ 25 (Godfrey Dec.); Ex. C ¶ 34 (Stamm Dec.).

       As the Corps acknowledged in the Remand Analysis, oil recovery and removal may be



bears out the prediction that “ice cover retards the movement of oil downstream by trapping the
hydrocarbons in the vicinity of the release location.” RAR 151. The report states as much, RAR
8877, and illustrates it with a map showing the position of oil after 10 days, RAR 8892. The map
makes clear that in cleaning a spill in winter, Dakota Access will need to cover a much smaller
area than in other seasons. Compare id., with RAR 8883. That is fully consistent with the model’s
prediction that in simulations with ice cover, “[t]he ice effectively capped the oil, prevented evap-
oration, and resulted in enhanced dissolution, all of which led to the maximum mass of oil in the
water column,” RAR 8875. The first consideration (trapping) concerns how far the oil travels
downstream; the second (capping) concerns its depth in the water column, which leads to greater
dissolution. While trapping does aid cleanup, “counterbalanc[ing]” other factors that make it more
difficult, RAR 151, nothing suggests that dissolution impedes cleanup at all.

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more difficult during icy conditions. RAR 115. But this difficulty is not unique to Lake Oahe or

DAPL—it applies to any similar body of water in similar conditions. Ex. B ¶ 27 (Godfrey Dec.).

And Dakota Access addresses this difficulty by contracting with highly trained, Coast Guard cer-

tified, Oil Spill Removal Organizations (“OSROs”). Id. ¶ 24; Ex. C ¶ 34 (Stamm Dec.). These

organizations are neither company- nor pipeline-specific—they are experts in the field and have

specialized oil-recovery capabilities suited to the region, including in subfreezing temperatures.

Ex. B ¶ 24 (Godfrey Dec.); Ex. C ¶ 34 (Stamm Dec.). OSROs and other recovery personnel have

access to specialized equipment for recovery of oil under ice and in all environmental conditions

and would deploy this equipment if a spill occurred during the winter to mitigate the effects of

freezing temperatures and shorter daylight hours on spill-recovery efforts. Ex. B ¶ 25 (Godfrey

Dec.). DAPL’s facility response plan assures that adequate resources are available. Ex. C ¶¶ 4(f),

19, 32, 39 (Stamm Dec.).

       iv. Worst-Case Discharge: Addressing the Court’s concerns about the Corps’ WCD cal-

culation also is not likely to change the Corps’ decision. As already noted, the real-world data

proves that the chances of a 12,500-barrel spill into Lake Oahe are much more remote than needed

to support the Corps’ low-likelihood, significant-consequence assessment. And, even so, the

Corps can substantiate its 12,517-barrel WCD calculation on remand.

       WCD modeling is expressly designed to assist in spill-response planning. PHMSA created

a formula, applicable across the universe of oil pipelines, that assigns a large volume to an ex-

tremely unlikely and purely hypothetical oil spill. The calculation is unlikely to make a material

difference in deciding whether to approve a pipeline; rather, it presupposes that the pipeline exists

and that it will have a large spill. As explained supra at 16, the probability of a spill materially

greater than 12,517 barrels at Lake Oahe is 1 in 194,000 years. Even if a “worse worst case” could




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be conjured by adding the confluence of multiple unlikely system failures—a spill on top of human

error, on top of multiple sequential mechanical errors, on top of extreme weather, and so on—the

Corps has already satisfied itself, for other valid reasons, that such low probability events need not

affect its decisionmaking. E.g., RAR 255. Instead, the spill-modeling process has already reached

the point of diminishing returns: “While there may be other methods for predicting oil spill effects,

it is not likely that employing further methods will result in substantively different views or infor-

mation that is more comprehensive than what the Corps has” already considered. RAR 139. That

determination “fits squarely within the realm of those ‘factual disputes’ committed to agency ex-

pertise.” SRST IV, 282 F. Supp. 3d at 99 (citing Wis. Valley Improvement Co. v. FERC, 236 F. 3d

738, 746 (D.C. Cir. 2001)).

       PHMSA regulations require WCD estimates to be prepared on a regional basis, not merely

a site-specific basis. See Ex. C ¶¶ 19, 36-39 (Stamm Dec.); Ex. B ¶¶ 28, 37 (Godfrey Dec.). This

builds in an added level of protection supporting the easement. These regulations require conser-

vatively ballparking the potential size of a spill at the location on the pipeline system where the

largest potential spill is deemed possible, and then ensuring adequate response plans and resources,

including staffing, drills, and communications, for a spill that size. See Ex. B ¶¶ 28, 37 (Godfrey

Dec.); Ex. C ¶¶ 36-40 (Stamm Dec.). For DAPL, the PHMSA methodology yielded                   barrels

for the largest WCD volume in DAPL’s Northern Region, which encompasses Lake Oahe. Ex. C

¶ 39 (Stamm Dec.). The location is a

from Lake Oahe. Id. Dakota Access therefore has in place a Facility Response Plan that enables

it to effectively respond to a       -barrel spill at any point in the Northern Response Zone, in-

cluding Lake Oahe. Ex. B ¶ 37 (Godfrey Dec.); Ex. C ¶¶ 36-39 (Stamm Dec.). Thus, even if the

12,517-barrel figure used by the Corps were off by          barrels, the response plan covering Lake




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Oahe has it covered. Ex. B ¶ 37 (Godfrey Dec.); Ex. C ¶¶ 36-39 (Stamm Dec.).

       Particularly in light of these points, none of the three issues raised in the Opinion as to the

WCD is likely to prevent the Corps from substantiating its decision to grant the easement.

       a. Leak-detection time: To address the Court’s concerns about leak-detection time on

remand, the Corps need only confirm that it would take 12.9 minutes to detect a leak, shut down

the pumps, and close the valves. Dakota Access’s experts can substantiate that number for the

Corps on remand and dispel the Tribes’ apples-to-oranges-based criticisms.

       The evidence on remand will show that DAPL’s leak-detection system is more than “ca-

pable” of detecting a WCD consistent with this timeframe. D.E. 496, at 30. A WCD estimate

assumes a full-bore rupture or “guillotine” rupture, in which the entire pipeline diameter is ex-

posed. RAR 19 n.8; see Ex. C ¶¶ 37-38, 40 (Stamm Dec.). This is much more catastrophic—and

thus much easier to detect—than either the leaks referenced by the commenters, D.E. 496, at 29,

or other smaller ruptures, which make up the upper end of the “1 to 3 minutes” range noted in the

Opinion, id. (quoting RAR 126-27). See Ex. C ¶ 8 (Stamm Dec.). A guillotine rupture would be

detected almost immediately and trigger an automatic shutdown of the pumps, reducing the flow

of the pipeline to a minimal amount. Ex. C ¶¶ 8, 40 (Stamm Dec.); cf. RAR 173 (DAPL receives

data from field instruments every 6 seconds). Thus, the 1-minute detection time assumed in the

WCD, RAR 254, is conservative. Ex. C ¶ 40 (Stamm Dec.). So are the further assumptions that

the pumps would be shut down manually (instead of automatically), that it would take an addi-

tional 3.9 minutes to close the valves upstream and downstream from the rupture (instead of the

valves closing while the pumps shut down), and that the flow rate would remain the same for the

entire period (instead of slowing as the pumps themselves slow to a stop). Id.

       Even if the numbers were adjusted up to 13.9 or even 15.9 minutes, D.E. 496, at 29-30,




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3 additional minutes at 416 barrels per minute, id. at 30, would only increase the WCD to 13,765

barrels. There is no reason to expect this would alter the Corps’ overall low-probability, high-

impact conclusion.

        b. Shutdown time: The Court gave credence to an expert who speculated (without evi-

dentiary substantiation) that “human or machine error might result in the valves’ not beginning the

closure process at all.” D.E. 496, at 32. Although the Corps explained that “human error was

considered in the design of the pumps and/or valves,” the Court concluded that the Corps had not

adequately addressed the fact that human error could nevertheless affect valve closure. Id. at 33.

The Corps can easily address these issues in a way that substantiates its decision to grant the ease-

ment.

        As an initial matter, the relevant PHMSA regulations, which specify how to calculate a

WCD, do not require pipeline operators to assume that systems designed to mitigate an incident’s

impact will fail. Ex. B ¶ 31 (Godfrey Dec.). Given that NEPA does not require a WCD analysis,

Robertson, 490 U.S. at 354, it certainly does not require calculation of a WCD in a manner other

than the one relied upon by DAPL’s PHMSA-approved Facility Response Plan, see RAR 6443;

D.E. 277-1, at 39. The Tribes’ ability to manufacture theoretical even-worse-case scenarios than

the PHMSA-approved WCD does not require the Corps to use a different method.

        Moreover, PHMSA’s WCD methodology already accounts for human and machine error,

as explained above. See supra, at 27; Ex. C ¶ 40 (Stamm Dec.). Even if the valves could not be

closed remotely—due, e.g., to loss in communication at a valve—shutdown of the pumps would

minimize the flow of oil through the pipeline. Ex. C ¶ 40 (Stamm Dec.). And the Lake Oahe-

specific WCD analysis intentionally omits consideration of physical barriers that limit the amount

of oil that could drain into the Lake after pump shutdown, even if the two valves nearest Lake




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Oahe were inoperable during a full-bore rupture. Id. ¶ 41. First, once still-operational valves are

closed, they will create an anti-siphoning effect on oil draining toward the rupture, similar to the

way that placing a finger over the end of a soda straw prevents liquids from escaping the straw. Id.

Anti-siphoning effects would reduce the release of oil in the event of an incident. Id. Second, it

is extremely unlikely that oil would seep through the low-permeability materials above the bore-

hole and reach Lake Oahe directly, given that oil is more likely to travel along the path of least

resistance up the borehole and away from the Lake. Id. Third, regardless of how much total oil is

sitting between the inoperable valves and the next set of valves, gravity can pull down oil only

from the net length of pipeline that forms a downhill slope toward the bottom of Lake Oahe. Id.

At most, this would amount to a total additional release of 5,000 barrels of oil, id.—an amount that

is unlikely to change the Corps’ bottom-line conclusion, particularly given the exceedingly low

probability of both valves adjacent to Lake Oahe becoming inoperable during a full-bore rup-

ture. And the Corps can always adjust the WCD numbers further, recognizing that the possibility

of the WCD actually occurring decreases significantly as more and more assumed errors are intro-

duced into the estimate. Given that Dakota Access is already prepared to respond to a spill several

times greater than the amount predicted, this exercise is unlikely to affect the Corps’ decision to

grant the easement. Ultimately, the Corps’ decision will be evaluated for compliance with NEPA’s

hard-look requirement, not Murphy’s Law.

       c. Adverse conditions: The Opinion discussed winter weather again in the worst-case

discharge discussion. See D.E. 496, at 34. The Corps can easily substantiate the easement in light

of concerns about “what the worst-case discharge would be” if materials and equipment did not

work as intended. Id. Ground-level winter conditions such as “‘deep snow, ice cover limitations

on oil spill sighting, [and] extreme cold,’” id., do not affect detection, which is based on factors




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inside the below-ground pipeline, such as pressure and flow rate, Ex. C ¶¶ 6-7 (Stamm Dec.).

There is no basis to conclude that a WCD would be worse in winter, because DAPL’s equipment

is rated to withstand the most extreme temperature ranges along the pipeline route. Id. ¶ 30. For

example, the valves were designed to meet operating temperatures ranging from -20 degrees to

+150 degrees Fahrenheit, even though actual average ambient temperatures historically range from

4 to 82 degrees Fahrenheit, and the flow of oil through the pipeline actually warms the equipment

from the inside, keeping it operational even if the ambient temperature drops below -20 degrees.

Id. Dakota Access also maintains and follows a winterization policy for its equipment. Id. ¶ 31.

Accordingly, subfreezing temperatures are “highly unlikely” to affect how quickly a pipeline spill

is detected or how quickly the flow of oil is shut off. Ex. B ¶ 23 (Godfrey Dec.).

       Moreover, if NEPA warranted a spill-volume calculation that expressly accounts for win-

ter-specific factors, the Corps would be able to justify the easement by reasonably concluding that

the likelihood of any spill occurring on this state-of-the-art pipeline, much less a WCD in winter

with malfunctioning equipment, is extremely low. Accounting for that possibility might make for

“better documents” in the eyes of certain commenters, but it would not meaningfully contribute to

a “better decisio[n]” on the Lake Oahe easement. 40 C.F.R. § 1500.1(c) (“Ultimately, of course,

it is not better documents but better decisions that count.”).

                                          *       *       *

       With respect to each topic the Opinion addresses, one final point unique to this case sup-

ports the conclusion that the Corps can substantiate its decision on remand. This Court relied on

the D.C. Circuit decision in National Parks Conservation Ass’n v. Semonite, 916 F.3d 1075 (D.C.

Cir. 2019), in ordering a remand, calling Semonite “a significant opinion clarifying a court’s role

in reviewing an agency’s finding that a project was not ‘highly controversial.’” D.E. 496, at 14.




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The Corps completed its remand work in August 2018, months before this “[c]rucial[]” clarifica-

tion of an agency’s duty. Id. at 14-15. The need for a remand is less likely to signal an agency’s

inability to substantiate its earlier decision when the remand was grounded in legal reasoning that

the courts clarified in a significant manner only after the agency acted.

       The first Allied-Signal prong favors remand without vacatur.

II.    Vacating The Easement Would Cause Immense Economic, Environmental, And
       Other Harm

       Remand without vacatur is independently warranted by the “‘disruptive consequences’” of

shutting down DAPL. Allied-Signal, 988 F.2d at 151. The last time the Court considered this

question, it found that disruptive consequences “slightly” favored remand without vacatur. SRST

IV, 282 F. Supp. 3d at 103, 108. At that time, DAPL had only just become operational, and the

Court had no need to “define the precise scale of the potential disruption.” Id. at 108. Now that

DAPL has been transporting nearly 40% of crude oil produced in North Dakota and nearly 4.5%

of crude oil produced nationally—for nearly three years with one of the nation’s best pipeline

safety records—not only are the disruptive consequences of a shutdown more precise and certain,

they would be much more severe. And the harms asserted by the Tribes are more speculative. The

second Allied-Signal factor thus decisively favors preserving the status quo and remanding without

vacatur.

       A.      Shuttering The Pipeline Would Have Devastating Economic Consequences On
               Many Parties

       Courts routinely recognize that shutting down—or even delaying—large infrastructure

projects has “immensely disruptive” consequences. Massachusetts v. NRC, 924 F.2d 311, 336

(D.C. Cir. 1991) (declining to vacate nuclear power plant operating license); Semonite, 422 F.

Supp. 3d at 100 (shutting down electrical infrastructure would have “serious, disruptive conse-

quences”); Cal. Cmtys. Against Toxics v. EPA, 688 F.3d 989, 994 (9th Cir. 2012) (delaying power


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plant construction would be “economically disastrous”). Pipeline infrastructure is no different.

As the D.C. Circuit recently acknowledged, shutting down any “operational” pipeline—even a

minor one—has “quite disruptive” consequences. City of Oberlin, 937 F.3d at 611 (refusing to

shut down 257-mile natural gas pipeline after less than a year of operations); see also Apache

Corp. v. FERC, 627 F.3d 1220, 1223 (D.C. Cir. 2010) (declining to vacate pipeline lease because

it would cause “substantial” disruption). Shuttering DAPL, a major interstate pipeline carrying

4.5% of the nation’s crude oil, would devastate not only Dakota Access and the DAPL-ETCOP

system that connects DAPL to the Gulf Cost, but also the oil industry; state, local, and tribal gov-

ernments; and the nation’s energy security and economic recovery. Collectively, the toll would

be billions of dollars in costs and lost revenue, and thousands of lost jobs.

               1.      Disruption To The DAPL-ETCOP System

       Shutting down DAPL would pose an existential threat to Dakota Access and the entire

DAPL-ETCOP system. Dakota Access would lose use of its only material asset and the source of

all revenue. Ex. G ¶ 9 (Emery Dec.). The ETCO pipeline (“ETCOP”), which connects DAPL to

the Gulf Coast, also would have to close because it relies on DAPL for all of its oil. Id.

       The resulting revenue losses would be massive. DAPL operated at or near its maximum

allowable throughput of 570,000 barrels per day between September 2018 and March 2020; in

fact, it was substantially “oversubscribed” for most of that time, meaning significant excess de-

mand for its services existed. Ex. G ¶ 8 (Emery Dec.). Despite the current economic downturn,

all transportation contracts for committed shippers remain in effect and demand for DAPL remains

strong. Id. Dakota Access projects that DAPL will continue to transport significant volumes of

Bakken crude oil throughout 2020 and that volumes will steadily increase as the economy recovers

from the COVID-19 pandemic. Id. ¶ 6. Shutting down the pipelines thus is projected to cost

Dakota Access and ETCOP’s owner, Energy Transfer Crude Oil Co. LLC (“ETCO”), between


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$2.8 million and $3.5 million in unrecoverable revenue every day the pipelines are idle in 2020,

amounting to between $516 million and $643 million for the second half of 2020. Id. ¶ 10. Losses

for 2021 would increase to between $1 billion and $1.4 billion. Id. Dakota Access alone would

incur 75% of the losses. Id.

       A shutdown would inflict additional unrecoverable expenses and liabilities on both com-

panies. It would cost Dakota Access approximately $15 million, and ETCO an additional $10

million, to safely purge their pipelines of oil and preserve them for future use. Ex. C ¶ 46 (Stamm

Dec.); Ex. G ¶ 11 (Emery Dec.). That does not include ongoing expenses to maintain, preserve,

and ensure the safety of the pipeline: a combined $67.5 million per year that the pipelines remain

inoperable. Ex. C ¶ 44 (Stamm Dec.); Ex. G ¶ 11 (Emery Dec.). Both companies, moreover,

would need to reduce or eliminate the use of services under contracts with third-party utility and

maintenance contractors (among others). Ex. G ¶ 12 (Emery Dec.). All of these financial losses

would be absorbed by the owners of Dakota Access and ETCO in proportion to their ownership

stakes, with Energy Transfer suffering 36% of the losses to the DAPL-ETCOP system. Id. ¶ 13.

       These serious consequences more than satisfy Allied-Signal’s second prong. See Oglala

Sioux Tribe v. NRC, 896 F.3d 520, 538 (D.C. Cir. 2018) (court is “concerned about the disruptive

consequences of vacating” for a company representing “that its stock price ‘would plummet’”);

Apache Corp., 627 F.3d at 1223 (finding disruptive consequences based on “substantial” disrup-

tion to pipeline operators).

       In SRST IV, the Court stated that Dakota Access had “assumed some risk of economic

disruption” by proceeding with pipeline construction and operation despite the Tribes’ unresolved

lawsuit. 282 F. Supp. 3d at 104. But however one might have quantified what the “economic

disruption” risk was back then, the potential economic risk now is quantifiable and catastrophic.




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And after almost three years of operations and several court rulings, it has been reasonable for

Dakota Access, the state of North Dakota, and all the other interested third parties to assume that

the “risk” of a shutdown would decrease significantly over time. Even then, this does nothing to

diminish the serious harms to numerous third parties—oil producers, royalty owners, governments,

and the general public, see infra, at 35-43. “It would be unjust to force all of those people to bear

the brunt of the harm” resulting from vacatur. Semonite, 422 F. Supp. 3d at 102 (emphasis added).

As for Dakota Access itself, the D.C. Circuit has since clarified that parties are entitled to “rea-

sonably rel[y]” on duly issued agency licenses and permits—even in the face of ongoing legal

challenges—and that disruptive consequences from such reliance counsel against vacatur. See

Oglala Sioux Tribe, 896 F.3d at 538 (finding disruption in part because company “reasonably re-

lied on the NRC’s ruling and settled practice that permitted the continued effectiveness of the

license the Staff issued”). Vacatur is improper where it “would punish” a party “for following the

Agency’s directions.” Defs. of Wildlife v. Jackson, 791 F. Supp. 2d 96, 118 (D.D.C. 2011). Were

the law otherwise, many large infrastructure projects could be held captive by litigation and re-

peatedly delayed (or never started), to the detriment of numerous third parties.

       Moreover, the landscape has changed significantly since SRST IV. The pipeline has now

been operating for nearly three years, and Dakota Access and ETCO have entered into long-term

supply contracts and made investments and hiring decisions in reasonable reliance not only on the

Corps’ approvals, but also on this Court’s prior determinations that the Corps “substantially com-

plied” with NEPA, SRST III, 255 F. Supp. 3d at 112, and had “a significant likelihood” of being

able to remedy the discrete issues in the EA that the Court identified for the first remand, SRST IV,

282 F. Supp. 3d at 103. The disruptive consequences flowing from that reasonable reliance coun-

sel strongly against vacatur. See Oglala Sioux Tribe, 896 F.3d at 538.




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               2.      Disruption To The Oil Industry And Its Employees

        North Dakota oil producers. The economic consequences of a shutdown for the oil indus-

try would extend far beyond Dakota Access and ETCO, as many North Dakota oil producers would

have no choice but to respond by “shutting in” some of their wells and ceasing production entirely.8

Ex. I ¶ 17 (Makholm Dec.); Ex. G ¶¶ 14, 18 (Emery Dec.). The extent of this disruption will

depend on the availability and economics of replacement transportation for the crude oil that

DAPL carries. Those modes are likely to be quite limited and more expensive, and they would

create greater harms on a barrel-by-barrel basis.

        There is no viable pipeline alternative for transporting the 570,000 barrels of Bakken crude

that DAPL is capable of carrying each day. Ex. I ¶¶ 17-19 (Makholm Dec.). Other pipelines lack

capacity to pick up the slack. Id. ¶ 17; Ex. K at 4 (Enerplus Dec.). That problem aside, they also

either do not connect to the distribution hubs served by the DAPL-ETCOP system or do so only

by way of other pipelines that may carry different types of crude, which can lead to degraded

product. Ex. I ¶ 17 (Makholm Dec.); Ex. G ¶ 41 (Emery Dec.).

        Nor could substantial amounts of DAPL’s crude be shifted to rail transport. Even when oil

prices rise again from current levels—$15 per barrel for West Texas Intermediate crude as of April

29, 20209—many producers will not be able to afford the additional $5 to $10 per barrel in cost

to ship oil by rail. Ex. I ¶¶ 18-19 (Makholm Dec.). Pricing aside, rail capacity is insufficient. At

around 700 barrels of oil per rail car, it would take eight 110-car trains every single day—almost

300,000 cars and about 2,700 locomotives each year—just to equal DAPL’s capacity. Ex. G ¶ 35


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    Similar effects would occur within the North Dakota natural gas industry, because oil and nat-
ural gas production often go hand-in-hand. Ex. I ¶ 26 (Makholm Dec.). If an oil well is forced to
shut-in, the gas-production facilities will likely also need to shut-in. While not as big as the oil-
production effort, North Dakota is a significant producer of natural gas. Id.
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     Bloomberg.com, Energy, https://bloom.bg/3aMvSRh (last accessed Apr. 29, 2020).


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(Emery Dec.). There are not enough rail cars or locomotives to fill the breach. Ex. D ¶¶ 5a-5b,

6-16 (Rennicke Dec.); Ex. I ¶ 17 (Makholm Dec.). Railroads, moreover, do not connect to DAPL’s

destination terminal in Patoka, Illinois, and provide only a circuitous route to ETCOP’s destination

terminal in Nederland, Texas. Ex. D ¶ 32 (Rennicke Dec.); Ex. G ¶¶ 24, 38 (Emery Dec.).

        Of the 570,000 barrels of crude that DAPL transports every day, therefore, only between

70,000 and 250,000 barrels per day likely could be diverted to railroads in the near-term. Ex. D

¶¶ 5a, 6-13 (Rennicke Dec.); Ex. G ¶ 35 (Emery Dec.). With nowhere to turn to transport the bulk

of DAPL’s oil, producers would have to shut-in between 3,460 and 5,400 wells, stranding up to

34.5% of North Dakota crude production. Ex. I ¶ 20 (Makholm Dec.); Ex. K at 4 (Enerplus Dec.).

Producers would lose between $253 million and $396 million in revenue every month in 2020,

and face millions more in unrecoverable costs to shut-in and maintain their wells. Ex. I ¶¶ 7, 21

(Makholm Dec.); Ex. K at 2 (Enerplus Dec.). With producers already suffering historically low

demand stemming from COVID-19, the additional losses would force producers to further slash

capital expenditures and lay off even more employees. Ex. I ¶¶ 21-22 (Makholm Dec.).10 De-

creased oil production also would harm third-party vendors, such as maintenance contractors, util-

ity companies, and trucking companies. Ex. G ¶ 21 (Emery Dec.).

        The losses would be sizeable even if more rail capacity could eventually be generated. The

extra $5 to $10 per barrel paid for rail travel, see supra, at 35, equates to $1 to $2 billion dollars a

year in additional transport costs. Ex. G ¶ 36 (Emery Dec.). And that price differential would

certainly increase with the greater rail-capacity demand caused by a shutdown. These costs would



10
    See also Jennifer Hiller & Liz Hampton, Oil in the Age of Coronavirus: A U.S. Shale Bust Like
No Other, Reuters (Apr. 15, 2020), https://reut.rs/2z61NyZ (“Fuel demand has plunged by as much
as 30 million barrels per day”—30%—as “the coronavirus pandemic ha[s] grounded aircraft, re-
duced vehicle usage and pushed economies worldwide toward recession.”).


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impair producers’ investments, constrain oil production, and hurt workers and consumers. Ex. I

¶ 23 (Makholm Dec.); Ex. K at 2, 4 (Enerplus Dec.).11 Moreover, a significant shift to rail trans-

portation of crude oil would cause (1) a net increase in environmental harms, infra, at 41-42, and

(2) increased congestion and shipping costs for other rail users, including Midwest farmers, who

rely heavily on rail transport for their products, Ex. F ¶¶ 4, 29-41 (Kub Dec.); Ex. D ¶¶ 17-27, 60-

84 (Rennicke Dec.).

       Refineries and pipelines. A shutdown likewise would have severe impacts on downstream

users of oil transported by DAPL, such as refineries and other pipelines. Refineries in the Midwest

and Gulf Coast have made significant investments and designed their facilities based on the ex-

pectation of a consistent, economic supply of “light sweet” Bakken crude that DAPL moves

cheaply and efficiently. Ex. G ¶¶ 25-27 (Emery Dec.); Ex. J ¶¶ 9, 12 (Marathon Dec.). In response

to a shutdown, these refineries would struggle to find—and would have to pay a premium for—

alternative sources of light sweet crude. Ex. G ¶¶ 24-26 (Emery Dec.); Ex. J ¶¶ 11-12 (Marathon

Dec.). That supply shock could lead to revenue losses for refiners, undermine their investments,

and cause job losses and higher prices for consumers. Ex. G ¶¶ 24-26 (Emery Dec.); Ex. J ¶¶ 9, 12

(Marathon Dec.). Other pipelines’ operations also would be disrupted. In addition to ETCOP,

some of the dozens of other active pipelines that currently aggregate and transport crude to and

from the DAPL-ETCOP system would have to drastically alter or even cease operations if DAPL

is stopped, irreparably harming their businesses. Ex. G ¶¶ 22, 24 (Emery Dec.).

       Jobs. In all, shutting down DAPL would cause between 4,500 and 7,000 workers their

jobs as oil producers shut-in their wells. Ex. I ¶¶ 7, 22 (Makholm Dec.). Third-party vendors and


11
    See also Thomas R. Covert & Ryan Kellogg, Crude by Rail, Option Value, and Pipeline In-
vestment, Nat’l Bureau of Econ. Research, 33, (Sept. 2017), https://tinyurl.com/y9ozyhbd (esti-
mating that even if more than 90% of DAPL’s capacity shifted to rail transport, crude oil flows
out of the Bakken region would see a net decrease of between 42,000 and 66,000 barrels per day).


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other local industries that cater to oil workers—like restaurants and hotels—would face yet further

layoffs on top of the effects that are expected to endure until COVID-19 restrictions are lifted. See

Ex. G ¶ 21 (Emery Dec.). With the oil industry already expected to cut around a third of its work-

force this year—and the economy as a whole struggling under unprecedented circumstances—

many of these workers would have nowhere to turn for employment.12

               3.      Disruption To States, Local Governments, And Tribes

       A shutdown also would be catastrophic for state, local, and tribal governments, which rely

on the hundreds of millions of dollars in tax revenues DAPL generates every year. Ex. G ¶ 28

(Emery Dec.); Ex. I ¶¶ 28-30 (Makholm Dec.). A shutdown would cut off those revenues just as

states are increasing spending to fight COVID-19, buoy their economies, and keep residents em-

ployed.13 And workers displaced by the shutdown would strain state budgets yet further through

state unemployment benefits claims. See Ex. I ¶ 22 (Makholm Dec.).

       North Dakota would be particularly hard-hit. North Dakota’s Tax Commissioner has esti-

mated that DAPL’s reduced transportation costs alone generated a quarter of a billion dollars in

oil tax revenues in its first two years of operations. Ex. G ¶ 28 & n.14 (Emery Dec.). And that is

just a fraction of DAPL’s total tax impact. Every year since 2017, DAPL has been responsible for

a significant portion of the billions in oil production and extraction taxes that North Dakota col-

lected from the state’s oil industry, which in turn account for almost 50% of North Dakota’s annual


12
    Hiller & Hampton, supra note 10 (“up to 240,000 oil-related jobs will be lost this year, about
a third of the onshore and offshore oilfield workforce”); Justin Wolfers, The Unemployment Rate
Is Probably Around 13 Percent, N.Y. Times (updated Apr. 16, 2020), https://nyti.ms/2XFdOW6
(unemployment rate is “rising at a speed unmatched in American history”).
13
    David A. Lieb, U.S. States Turn to Cash Reserves as Coronavirus Strains Budgets, AP (Mar.
15, 2020), https://bit.ly/3579K2P; see also Tony Romm, More Than 2,100 U.S. Cities Brace for
Budget Shortfalls Because of Coronavirus, with Many Planning Cuts and Layoffs, Wash. Post
(Apr. 14, 2020), https://wapo.st/2XEf102.



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state tax receipts. Ex. I ¶¶ 28-30 (Makholm Dec.); Ex. G ¶ 28 (Emery Dec.). That revenue—

earmarked to support, for example, local governments, tribes, and public schools—is already fore-

cast to decrease sharply in 2020 due to falling oil prices and decreased production. Ex. I ¶¶ 29,

31-35 (Makholm Dec.). If DAPL is shut down, North Dakota’s oil tax receipts would fall by up

to $393 million in 2020 and $715 million in 2021. Id. ¶ 30. Such dramatic reductions in tax

revenues would compound the state’s fiscal difficulties while spending rises in response to the

COVID-19 pandemic.

       Similarly, many Native American tribes would suffer severe economic hardship if DAPL

is shut down. For instance, the Mandan, Hidatsa, and Arikara Nation have 14 active drilling rigs

and more than 2,000 wells on their land. Ex. G ¶ 32 (Emery Dec.). Those wells produce more

than 315,000 barrels of Bakken crude per day, roughly 20% of North Dakota’s total oil output. Id.

A shutdown would cause many of those wells to shut-in and drilling rigs to move elsewhere, de-

priving the tribes of a significant source of tax revenues, royalty payments, and jobs.14 Id. Indeed,

the loss of a single drilling rig would cost the tribes around $8 million per year in tax revenue. Id.

These lost funds, which would be unrecoverable, would impact the tribes’ efforts to pay for

schools, hospitals, and government services. See id.

       In addition, the states crossed by DAPL and ETCOP would experience significant prop-

erty-tax losses. Ex. G ¶ 29 (Emery Dec.). Dakota Access and ETCO project that a shutdown

would reduce property taxes they pay to states in fiscal year 2021 by approximately $45 million,

including by $22.5 million to Iowa, $7 million to North Dakota, $4.5 million to South Dakota, $5

million to Louisana, $3.5 million to Mississippi, and $1 million to Tennessee. Id. Total property-

tax payments would decrease by $65 million in fiscal year 2022—and that is just a small fraction


14
    Private landowners also would receive dramatically reduced royalty payments if the pipelines
are shut down. Ex. I ¶ 24 (Makholm Dec.).


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of the hundreds of millions of dollars in lost tax revenues and billions of dollars in overall eco-

nomic harm that would result from a shutdown. Id.

               4.      Disruption To The Public Interest

       The disruptive consequences of shutting down DAPL would not be limited to the oil in-

dustry and oil-producing states, but instead would reverberate through the national economy, in-

creasing uncertainty and volatility in the energy markets, distorting investment decisions, and po-

tentially hindering the national economic recovery. Ex. H ¶ 5 (Olive Dec.); see id. ¶¶ 15-21. It

would also endanger national energy security. Over the past decade, dramatic increases in domes-

tic oil production and improved oil infrastructure have buttressed the nation’s security by decreas-

ing our reliance on foreign sources of oil. Ex. E ¶¶ 15-16 (Caruso Dec.). DAPL has played a

critical role in that regard, both by spurring increased domestic oil production and by providing a

stable and efficient means for bringing to market nearly 40% of the oil from the Bakken region.

Id. ¶¶ 7-12.

       Shutting down DAPL could decrease oil production and curtail investment in the industry,

undermining the stability of the nation’s crude infrastructure. Ex. E ¶ 21 (Caruso Dec.). That

would limit our ability to respond to foreign and domestic supply disruptions such as wars and

natural disasters, and increase our dependence on foreign (and sometimes hostile) nations. Id.

¶¶ 16, 22. A shutdown would also sever the largest and most direct pipeline connection between

the Bakken region and the U.S. Strategic Petroleum Reserve—just as the government is seeking

to fill that reserve to help stabilize oil prices. Id. ¶ 23; see also Stephen Cunningham, U.S. Oil

Producers Begin Storing Crude in Strategic Reserve, Bloomberg (Apr. 27, 2020),

https://bloom.bg/2SetDzq.

       B.      Shutting Down The Pipeline Would Harm The Environment

       Although the substantial economic disruption of a shutdown is sufficient reason to remand


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without vacatur, courts also will “not vacate [agency actions] when doing so would risk significant

harm to the public health or the environment.” Wisconsin v. EPA, 938 F.3d 303, 336 (D.C. Cir.

2019). Here, rather than protecting the environment, a shutdown would have the opposite effect,

posing at least three significant environmental and safety risks, each affecting millions in the re-

gion, including the Tribes. Shutting down the pipelines thus “would be the equivalent to a major

federal action with no regulatory oversight or environmental agency review and approval.” Ex. A

¶ 5 (Aubele Dec.).

       First, the increased rail transportation that eventually will result from a shutdown, even

though insufficient to replace DAPL, would nevertheless heighten spill risks and increase air pol-

lution. Ex. A ¶¶ 31-35 (Aubele Dec.). Courts, academics, and government agencies have consist-

ently recognized that “pipeline transportation of oil is safer than rail transportation” on a “volume-

distance basis (i.e., per barrel-mile).” Puntenney v. Iowa Utils. Bd., 928 N.W.2d 829, 842 (Iowa

2019); see also Strata, Pipelines, Rail & Trucks: Economic, Environmental, and Safety Impacts of

Transporting Oil and Gas in the U.S., at 6 (2017) (“Pipelines in particular have advantages in

terms of safety, efficiency, and low environmental impacts.”). One study, for example, estimates

that the incident rate for rail is 4.5 times higher than for crude oil pipelines when the amount of oil

transported is taken into account. Strata, supra, at 6. Another study concludes that rail transport

is six times more costly to the environment and human health than pipeline transport. Karen Clay,

et al., External Costs of Transporting Petroleum Products: Evidence from Shipments of Crude Oil

from North Dakota by Pipelines and Rail, 40 Energy J. 55, 68 (2019).

       The air pollution costs of exporting oil by rail from North Dakota to the Gulf Coast are also

significant—more than double that of pipeline transport. See Clay, supra, at 69. “[G]round-level




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emissions, such as those from locomotives, tend to be more harmful than the same level of emis-

sions released from tall smokestacks” at power plants and pumping stations, which power pipe-

lines. Id. at 55-56. And trains often pass through large population centers, whereas power plants

and pumping stations are typically located in sparsely populated areas. Id. at 67.15

       These environmental risks would be especially acute for SRST, as a railroad track crosses

Lake Oahe just 1.6 miles upstream of the reservation’s new water intake. Ex. A ¶ 36 (Aubele

Dec.); Ex. D ¶ 34 (Rennicke Dec.). A rail incident over or near Lake Oahe is much more likely to

harm the environment and human health than a pipeline incident occurring 90 feet below the Lake

Oahe lakebed. Ex. A ¶ 36 (Aubele Dec.). Plaintiffs have conceded that some crude-oil trains

would use this crossing of the Missouri River. D.E. 272-5 ¶ 104. While they disputed the precise

number, every additional train increases the likelihood of an incident at this crossing. And a 110-

car train could carry 77,000 barrels of oil—so a train incident at this location could potentially

dump more than 6 times as much oil directly into Lake Oahe than was modeled in the WCD. Ex.

A ¶ 36 (Aubele Dec.). Whereas PHMSA requires the response plan that DAPL put in place, in-

cluding equipment and personnel available to respond to a spill roughly                larger than the

PHMSA-approved WCD for Lake Oahe, such plans, personnel, and equipment are not mandated

for responses to a train incident of this magnitude. Id. ¶ 37.

       Second, the rash of oil well closures that would result from shuttering DAPL, see supra, at

35-37, would be costly and risky. If not closed properly, the idle wells could leak and contaminate




15
    And, of course, increased crude oil shipments by rail will likely impact urban and suburban
population centers, as well as Native American tribes other than Plaintiffs. Ex. D ¶¶ 34, 85-95
(Rennicke Dec.). For example, some of the rail lines that crude-oil trains would need to take to
replace DAPL’s capacity travel through downtown Chicago and its densely packed suburbs, ex-
posing hundreds of thousands, if not millions of people to increased environmental risks. Id. ¶¶ 32,
95. Similarly, those same rail lines travel close to/cross the SRST reservation. Id. ¶ 34.

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groundwater with hydrocarbons and other toxins, which could endanger the health of nearby resi-

dents, including members of the Tribes. Ex. A ¶ 38 (Aubele Dec.). Many closed wells also emit

significant amounts of methane, a greenhouse gas far more harmful than carbon dioxide, which

can impair air quality and cause explosions. Id. ¶ 38 & n.13.

       Third, as discussed in detail previously, discontinuing pipeline operations creates the risk

of leaks due to corrosion. D.E. 260, at 16-17; Ex. B ¶¶ 3(f), 40-41 (Godfrey Dec.). When DAPL

is operational, multiple systems detect and prevent corrosion from water entrained in the crude oil.

Ex. B ¶ 41 (Godfrey Dec.). If operations are suspended, those systems will no longer function and

stagnant water could compromise the pipeline’s structural integrity. Id. That is of particular con-

cern at the Lake Oahe crossing, a low point, because water is more likely to collect there. Id.

Purging the pipeline and filling it with an inert gas would not eliminate those risks, and it would

pose safety risks to the workers performing the purge. Ex. C ¶ 46 (Stamm Dec.). At best, the

speculative advantage of avoiding extremely low probability spills is offset by these other envi-

ronmental risks to a shutdown.

       C.      Preserving The Status Quo Will Not Harm The Tribes

       In contrast to the serious economic disruption and environmental harms that a shutdown

would cause, keeping the pipeline in operation during the remand period is extremely unlikely to

cause any disruption at all. It remains well settled—as the Corps found and this Court affirmed—

that DAPL’s state-of-the-art components and leak-detection systems, the process by which it was

installed underground, and Dakota Access’s response plans make “the risk of an inadvertent re-

lease in, or reaching, Lake Oahe … extremely low.” USACE_DAPL71311; see also SRST III,

255 F. Supp. 3d at 127 (affirming the EA’s “top-line conclusion that the risk of a spill is low”).

       The track record speaks for itself. Since DAPL began operating in June 2017, there have

been no spills on its nearly 1,200 miles of main-line pipe, which includes the Lake Oahe crossing.


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Ex. C ¶ 24 (Stamm Dec.); Ex. A ¶ 4 (Aubele Dec.). Even at Dakota Access facilities, there have

been only seven minor incidents, none larger than two barrels, and only one of which resulted in

less than half a barrel of oil leaving the facility as misting, which was quickly remediated. Ex. C

¶ 24 (Stamm Dec.). All but one event occurred within the first 12 months of operations and related

to commissioning issues that are now resolved. Id. DAPL’s tiny volume of releases falls well

below the industry average. Ex. B ¶¶ 18-20 (Godfrey Dec.). DAPL’s safety record is also con-

sistent with PHMSA historical data, which shows that the likelihood of a large or even modest

spill, including at or near Lake Oahe, is exceedingly low. RAR 14-19; Ex. B ¶ 21 (Godfrey Dec.);

Ex. A ¶ 4 (Aubele Dec.).

       In fact, Lake Oahe is among the least likely locations for a significant spill because the

portion of the pipeline under the Lake was installed using horizontal directional drilling (or HDD).

Ex. C ¶ 28 (Stamm Dec.). Of the more than 3,300 pipeline spills that have occurred across all

pipelines in the country between 2010 and 2018, there has been only one spill—less than two

barrels in volume—from a crude oil pipe installed using HDD. Ex. A ¶ 13 (Aubele Dec.). That

makes sense. HDD puts pipelines well below ground where they are not nearly as susceptible to

one of the common causes of pipeline spills—third-party damage. Ex. C ¶ 28 (Stamm Dec.).

       Moreover, even a large spill—an exceedingly unlikely event—would be mitigated to the

point of not harming the Tribes. Modeling for a release that would never happen—12,517 barrels

directly into the Lake followed by 10 days with zero response effort—showed limited and tempo-

rary impacts on the Tribes’ use of Lake Oahe and no impact at all to the Tribes’ water supplies.

Ex. A ¶¶ 17-19 (Aubele Dec.). Moreover, response plans and equipment already in place are ca-

pable of swiftly and effectively responding to a spill roughly            larger than that volume.

Ex. C ¶ 19 (Stamm Dec.). These response tools are a condition of the Lake Oahe easement. Id.




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¶ 32; Ex. A ¶ 12 (Aubele Dec.).

       Any speculative harms to the Tribes thus pale in comparison to the severe and certain eco-

nomic disruption and environmental harms that would ensue from shutting down DAPL during

the remand. The balance of the harms in this case therefore decisively favors remand without

vacatur. See Semonite, 422 F. Supp. 3d at 103 (“the negative effects of keeping the project in place

while the Corps conducts its EIS do not outweigh the aforementioned harms that will occur if

vacatur is ordered”).

                                         CONCLUSION

       This Court’s remedy order should not include vacatur.


        Dated: April 29, 2020                               Respectfully submitted,


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                               CERTIFICATE OF SERVICE

      I hereby certify that on this 29th day of April, 2020, I electronically filed the foregoing

document using the CM/ECF system. Service was accomplished by the CM/ECF system.



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